Case 4:15-cr-00015-CDL-MSH Document1 Filed 03/12/15 Page 1 of 2

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF GEORGIA

COLUMBUS DIVISION
UNITED STATES OF AMERICA : CRIMINALNO: 4:15-CR-1S_-CDL
v. : VIOLATIONS:
: 18 U.S.C. § 2250(a)
DARNELL FEAGINS,
Defendant. INDICTMENT

 

THE GRAND JURY CHARGES:

COUNT ONE:
(FAILURE TO REGISTER AS A SEX OFFENDER)

Between on or about July 22, 2013, and August 14, 2014, in the Columbus Division

of the Middle District of Georgia and elsewhere within the jurisdiction of this Court, the

defendant,

DARNELL FEAGINS,

a person required to register under the Sex Offender Registration and Notification Act

(SORNA) by reason of a conviction for a Criminal Sexual Act in the 2"4 Degree under the

laws of New York, traveled in interstate commerce, and knowingly failed to register as a

sex offender as required by SORNA. All in violation of Title 18, United States Code,

Section 2250(a).
A TRUE BILL.

Sf _

FOREPERSON OF THE GRAND JURY
Case 4:15-cr-00015-CDL-MSH Document 1 Filed 03/12/15 Page 2 of 2

MICHAEL J. MOORE
UNITED STATES ATTORNEY

Presented by:
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ISVANT UNI TATES ATTORNEY

Filed in open court this [2thaay of Mach, AD 2015.

Deputy clk 7 X 0) ~

 
